Case 14-01454-JNP                 Doc 361-1 Filed 01/06/21 Entered 01/06/21 13:59:47         Desc
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 Edmond M. George, Esquire
 William F. Saldutti, V, Esquire
 Turner N. Falk, Esquire
 Obermayer Rebmann Maxwell & Hippel LLP
 1120 Route 73, Suite 420
 Mount Laurel, NJ 08054
 (856) 795-3300
 (856) 482-0504 (fax)
 edmond.george@obermayer.com
 turner.falk@obermayer.com
 Special Counsel for Chapter 7 Trustee, John W.
 Hargrave

 In re:                                                       Chapter 7

           LOCALBIZUSA, INC.,                                 Case No. 09-20654 (JNP)

                                      Debtor.


 LOCALBIZUSA, INC., by and through JOHN
 W. HARGRAVE, Chapter 7 Trustee,
                                                              Adversary No. 14-1454 (JNP)
                     Plaintiff,
           v.

 UNIQUE BILLING SOLUTIONS, LLC, a
 Nevada Limited Liability Corporation,
 JEFFREY ROSENBERG, an individual,
 FRANK CAHILL, an individual, and, JOHN
 DOES 1-10, individuals,

                     Defendants.

                                     CERTIFICATION OF SERVICE

1.        I, Coleen M. Schmidt:
                represent the                      in this matter.
                am the secretary/paralegal for Turner N. Falk, Esq., who represents the
          Plaintiff, John W. Hargrave, as chapter 7 Trustee of the estate of LocalBizUSA, Inc. in
this matter.



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            am the ______________________ in this case and am representing myself.
2.      On January 6, 2021, I sent a copy of the following pleadings and/or documents to the
        parties listed in the chart below:
               Corrected Reply in Further Support Motion to Amend Adversary Complaint
                Proposed Order

3.      I hereby certify under penalty of perjury that the above documents were sent using the
        mode of service indicated.


        Dated: January 6, 2021                              /s/ Coleen M. Schmidt
                                                            Signature




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 Name and Address of Party Served               Relationship of                 Mode of Service
                                               Party to the Case
Mr. Jeffrey Rosenberg                            Attorney for          Hand-delivered
c/o Christopher J. Stanchina, Esq.             Defendant Jeffrey       Regular mail
Christopher J. Stanchina, Esquire, LLC            Rosenberg            Certified mail/RR
222 New Road, Suite 206                                                Other (As authorized by the Court or
Linwood, New Jersey 08221                                          by rule. Cite rule if applicable) Electronic
chris@stanchinalaw.com                                             notification through CM/ECF
Frank Cahill                                      Defendant            Hand-delivered
588 Lake Shore Drive                                                   Regular mail
Parsippany, NJ 07054                                                   Certified mail/RR
frank@frankcahill.com                                                  Other (As authorized by the Court or
                                                                   by rule. Cite rule if applicable)




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